             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                     1:16-cr-00008-MR-WCM

UNITED STATES OF AMERICA,                              )
                                                       )
v.                                                     )
                                                       )
CAMERON D. SAWTELLE,                                   )
                 Defendant,                            )
                                                       )
and                                                    )
                                                       )
AUTO ADVANTAGE INC.,                                   )
                       Garnishee.                      )
 __________________________________________

        DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

      For the reasons stated therein and for good cause shown, the

Government’s Motion for Dismissal of Order of Continuing Garnishment

(Doc. 24) is GRANTED, and the Order of Continuing Garnishment (Doc. 23)

against Defendant Cameron D. Sawtelle is DISMISSED.


                                Signed: October 18, 2021




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